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                EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 ROBOTICVISIONTECH, INC.,

                         Plaintiff,

                 v.                                    Case No. 22-cv-01257-GBW

 ABB INC.,                                             DEMAND FOR JURY TRIAL

                         Defendant.


                                 RVT’s INITIAL DISCLOSURES

       Pursuant to Rule 26(a)(1) and item 3(a) of the proposed Scheduling Order, Plaintiff

RoboticVISIONTech, Inc. (“RVT”), herein identifies “the accused products, including accused

methods and systems, and its damages model, as well as the asserted patents that the accused

products allegedly infringe(s).” Plaintiff also “produces the file history for each asserted patent”

and identifies “its alleged trade secrets with particularity.”

I.     Accused Products

       The accused products in this case are ABB’s robotic vision technology, including ABB’s

FlexVision 3D software (all versions, whether or not formally called “FlexVision 3D”), robots

sold with a version of FlexVision 3D, and robots configurable for use with a version of

FlexVision 3D (regardless of whether sold with a version of FlexVision 3D).

       This identification of accused products is based on RVT’s current knowledge and belief

in view of the information available at this time. RVT reserves all rights to supplement or modify

its identification of accused products following discovery.

II.    Damages Model

       RVT’s damages include: (1) recovery of lost profits from RVT’s competing eVF



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software product, (2) reasonable royalties for sales of ABB’s infringing FlexVision 3D software,

(3) reasonable royalties for ABB’s indirect infringement arising from sales of robots for use with

FlexVision 3D software, (4) enhanced (treble) damages for willful infringement, (5) royalty-

based damages and disgorgement of ABB profits for copyright infringement (or, in the

alternative, statutory damages for copyright infringement), (5) disgorgement of ABB’s profits for

trade-secret misappropriation, and (6) punitive damages for willful and malicious conduct.

       This identification of RVT’s damages model is based on RVT’s current knowledge and

belief in view of the information available at this time. RVT reserves all rights to supplement or

modify its damages model following discovery.

III.   Asserted Patents

       The patents-in-suit are:

           •   U.S. Patent No. 6,816,755 entitled “Method and Apparatus for Single Camera 3D
               Vision Guided Robotics,” issued November 9, 2004;

           •   U.S. Patent No. 7,336,814 entitled “Method and Apparatus for Machine-Vision,”
               issued February 26, 2008; and

           •   U.S. Patent No. 8,095,237 entitled “Method and Apparatus for Single Image 3D
               Vision Guided Robotics,” issued January 10, 2012.

The file histories of these asserted patents are attached to this document as Exhibits A-C.

IV.    Trade Secrets

       RVT’s trade secrets include the use of and source code responsible for (1) feature

qualification, (2) reprojection, (3) inverse projection, (4) multiple pose-calculation methods to

minimize feature count, and (5) the so-called “golden position” in creating a 3D model from a

2D image capture. Additional features and advantages that help identify and describe the scope

and content of these trade secrets are as follows:




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               1.      Feature qualification

       eVF uses trade-secret methods to qualify the features used during pose estimation. These

methods have certain thresholds, some of which are set by the user, and eVF runs statistical

calculations against these thresholds to determine whether any underperforming features should

not be used during pose calculation at runtime. eVF will also discard at runtime features that it

detects are not co-planar, to an optimized degree, for resiliency against optical skew. These

methods have benefits over known methods by reducing noise, skew, and errors resulting from

large pose deviations or lighting changes during the pose-estimation process. The ability to offer

these benefits, where competitors cannot, gives RVT an advantage in the marketplace.

               2.      Reprojection

       eVF uses a method for improving the pose estimation during feature qualification,

training the model, and pose calculation known as “reprojection.” Reprojection is the process of

running the inverse projection process (described below) multiple times during the pose-

estimation algorithm, but with a pattern or feature eliminated. Statistical analyses are performed

on the newly estimated poses and outlying features are discarded for the final calculation. This

gives the software resiliency against feature error (e.g., from variability between parts) that

allows it to improve the quality of the calculation or to identify features that should be eliminated

during the model-training process.

               3.      Inverse projection

       To calculate a pose, eVF also uses a trade-secret technique called “inverse projection”

with sparse model data (that is, without the typical usage of a depth map). Inverse projection

improves accuracy in estimating the 3D location of a part with respect to a 2D camera image. It

finds the camera position that minimizes the error of the locations of the features if the camera

were looking at trained 3D sparse model. The software then performs a gradient descent


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minimization technique to find the optimal camera position. Minimizing the location of the

camera (as opposed to the conventional method of minimizing the location of the part) improves

cycle times over known techniques.

       If this technique fails to find a confident pose, eVF will try a second algorithm that uses a

trade-secret 2D-to-3D center-of-mass registration (i.e. feature correspondences) process utilizing

the Levenberg–Marquardt algorithm designed to find a solution efficiently even with starting

parameter values far from the optimal solution. The traditional approach is to use only a gradient

descent algorithm, which is less accurate in larger deviations. eVF’s use of inverse projection is

further enhanced by its leveraging of extrinsic camera-calibration algorithms to rapidly perform

inverse projections with a calibrated camera. This technique increases efficiency gains to more

direct methods of solving for pose estimation by setting up complex linear equations.

               4.      Use of multiple pose-calculation methods to minimize feature count

       After RVT disclosed its patented method requiring a minimum of six features to calculate

a 3D pose with a single camera, RVT developed a trade-secret method to perform robust, single-

camera 3D pose estimations with only four part features. These methods, which include

dynamically using multiple pose-calculation methods at runtime, allow RVT to perform its trade-

secret feature qualification techniques without risk of having too few features. These methods

also allow RVT’s eVF product to work on smaller parts with fewer reliable features.

               5.      Golden position

       To extrapolate 3D part information from a 2D image, eVF uses a sparse 3D model of the

part instead of a 3D geometric or point-cloud model of the entire part itself (i.e., a CAD file). In

RVT’s trade-secret method, the location of the part in 3D space with respect to the camera

position and the location of each feature within the part are collectively referred to as the “golden

position.” The golden position is thereafter used as the reference and basis for a series of


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equations that accomplish pose estimation. For example, during inverse projection, features are

assumed to be in their “golden position,” allowing the system of equations to produce an

accurate estimation for the optimal camera location. Each computed pose is further defined by its

deviation from the part’s global golden position, instead of by its coordinates in 3D space (the

traditional approach). Locating each pose relative to the golden position instead of locating each

pose in 3D space allows for more accurate and robust pose estimation based on more limited

information. It also simplifies calculations in a way that allows pose estimation to be conducted

just as accurately at any starting camera position.

       Use of the golden position is different than the industry-standard method for locating an

object in 3D space, namely geometric model-fitting, typically implemented with a RANSAC

algorithm. This traditional method of pose estimation uses two camera positions to compute a

dense depth image of an object. This depth image, along with a geometric model fitting

algorithm, can be used to determine the location of the object. RVT’s alternative method of

creating a golden position through RVT’s auto-train process, and then using that golden position

as a reference point with which to define further pattern positions, enables pose estimation

without a dense depth image, without computationally expensive model-fitting algorithms, and

with a single camera.

       This identification of trade secrets is based on RVT’s current knowledge and belief in

view of the information available at this time. RVT reserves all rights to supplement or modify

its identification of trade secrets relevant to this dispute following discovery.




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 Dated: March 31, 2023




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                             CERTIFICATE OF SERVICE


             This is to certify that on this March 31, 2023, a true and correct copy of RVT’s

 Initial Disclosures was caused to be served by electronic mail on the following counsel of

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 Dated: March 31, 2023

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